Case 8:19-cv-01944-SAG   Document 304   Filed 06/26/25   Page 1 of 7
Case 8:19-cv-01944-SAG        Document 304       Filed 06/26/25     Page 2 of 7



   asylum/asylum/minor-children-applying- for-asylum-by-themselves.

   Plaintiff’s Response: The Settlement Agreement requires a memorandum

   explaining and implementing the Settlement Agreement, applicable to Class

   Members as well as other individuals with prior “unaccompanied alien child”

   (“UC”) determinations. Plaintiffs have identified five ways in which the USCIS

   memorandum violates the Settlement Agreement:

   1. The USCIS memorandum allows USCIS to reject jurisdiction over asylum
      applications of individuals with prior UC determinations in circumstances not
      permitted by the Settlement Agreement, violating Paragraphs III.B and III.C.

   2. The USCIS memorandum does not exempt individuals with prior UC
      determinations from the one-year filing deadline, in violation of Paragraph III.B
      of the Settlement Agreement.

   3. The USCIS memorandum permits USCIS to defer to immigration judge
      determinations in circumstances not permitted by the Settlement Agreement, in
      violation of Paragraph III.D.

   4. The USCIS memorandum does not adopt expedite procedures as required by
      Paragraph III.G of the Settlement Agreement. See Part G infra.

   5. The USCIS memorandum’s timeline for retractions violates Paragraph III.E.1 of
      the Settlement Agreement.

   On March 22, 2025, Plaintiffs sent a letter to Defendants describing the above

   problems with the memorandum and offering corrections to bring the

   memorandum—as well as additional implementing guidance—into compliance with

   the Settlement Agreement. Plaintiffs await Defendants’ response.

   Defendants’ Response: Please refer to Defendants’ Reply to Plaintiffs’ response to

   Defendants’ Second Compliance Report.



B. [Relating to Paragraph III.B]

   Text of Defendant’s First Compliance Report: USCIS has complied with

                                      2
Case 8:19-cv-01944-SAG        Document 304        Filed 06/26/25     Page 3 of 7



   Paragraph III.B (ECF 199-2 at 7) of the Settlement Agreement in determining

   jurisdiction over Class Members’ asylum applications.

   Plaintiffs’ Response: Plaintiffs are aware of at least five cases since the

   Court’s final approval of the Settlement Agreement in which USCIS has failed

   to comply with Paragraph III.B.

   Defendants’ Response: Please refer to Defendants’ Reply to Plaintiffs’

   response to Defendants’ Second Compliance Report.

C. [Relating to Paragraph III.C]

   Text of Defendant’s First Compliance Report: USCIS has issued Adverse

   Jurisdictional Determinations to 0 Class Members based on USCIS’s determination

   that EOIR has jurisdiction because the Class Member did not meet the statutory UAC

   definition (found at 6 U.S.C. § 279(g)(2)) at the time of filing their asylum

   application. USCIS certifies those determinations were issued pursuant to Paragraph

   III.C (ECF 199-2 at 7) of the Settlement Agreement, in that the basis for each

   Adverse Jurisdictional Determination was the Class Member’s placement in adult

   immigration detention after a Prior UAC Determination but before filing their

   asylum application.

   Plaintiffs’ Response: As stated in Part B above, Plaintiffs are aware of at least five

   cases in which USCIS has rejected Class Members’ asylum applications due to an

   erroneous claim that EOIR has jurisdiction, in violation of the Settlement

   Agreement. None of these rejections complied with the procedures set forth in

   Paragraph III.C of the Settlement Agreement. Plaintiffs have sent five cases to

   Defendants’ counsel, and await Defendants’ corrective action.

   Defendants’ Response: Please refer to Defendants’ Reply to Plaintiffs’ response to
                                       3
Case 8:19-cv-01944-SAG       Document 304        Filed 06/26/25     Page 4 of 7



   Defendants’ Second Compliance Report.

D. [Relating to Paragraph III.D]

   Text of Defendants’ First Compliance Report: USCIS has complied with

   Paragraph III.D (ECF 199-2 at 8) of the Settlement Agreement in determining its

   jurisdiction over Class Members’ asylum applications.

   Plaintiffs’ Response: During this reporting period, Plaintiffs have received no

   complaints from Class Members related to suspected violations of Paragraph III.D

   of the Settlement Agreement.

   Defendants’ Response: No response required

E. [Relating to Paragraph III.E]

      1. [Relating to Paragraph III.E.1]

          Text of Defendants’ First Compliance Report: As of February 25, 2025,

          USCIS has retracted Adverse Jurisdictional Determinations in the cases of 0

          Class Members, as required by Paragraph III.C.2 (ECF 199-2 at 7) of the

          Settlement Agreement. As of February 25, 2025, USCIS has fully complied

          with Paragraph III.E.1 (ECF 199-2 at 8) of the Settlement Agreement.

          Plaintiffs’ Response: Since Defendants’ deadline for compliance with

          Paragraph III.E.1 of the Settlement Agreement has not yet passed, Plaintiffs

          agree that Defendants have not violated Paragraph III.E.1.

           Defendants’ Response: No response required

      2. [Relating to Paragraph III.E.2]

          Text of Defendants’ First Compliance Report: As of February 25, 2025,

          USCIS has retracted Adverse Jurisdictional Determinations in the cases of 0

          Class Members, as required by Paragraphs III.B (ECF 199-2 at 7) and/or

                                      4
Case 8:19-cv-01944-SAG        Document 304        Filed 06/26/25     Page 5 of 7



          III.D (ECF 199-2 at 8) of the Settlement Agreement. As of February 25,

          2025, USCIS has fully complied with Paragraph III.E.2 (ECF 199-2 at 8) of

          the Settlement Agreement.

          Plaintiffs’ Response: Since Defendants’ deadline for compliance with

          Paragraph III.E.2 of the Settlement Agreement has not yet passed, Plaintiffs

          agree that Defendants have not violated Paragraph III.E.2.

          Defendants’ Response: No response required

      3. [Relating to Paragraph III.E.3]

          Text of Defendants’ First Compliance Report: As of February 25, 2025,

          USCIS has mailed notices of re-examination of jurisdictional determinations

          to 995 Class Members. As of February, USCIS has fully complied with

          Paragraph III.E.3 (ECF 199-2 at 8) of the Settlement Agreement.

          Plaintiffs’ Response: Plaintiffs have received no complaints from Class

          Members who were expecting a notice of re-examination of jurisdiction

          under Paragraph III.E.3 but did not receive one.

          Defendants’ Response: No response required

F. [Relating to Paragraph III.F]

   Text of Defendants’ First Compliance Report: As of February 25, 2025, USCIS

   has mailed notices to 0 Class Members notifying them that USCIS has released a

   hold placed on the application in or after March 2021. As of February 25, 2025,

   USCIS has fully complied with Paragraph III.F (ECF 199-2 at 8) of the Settlement

   Agreement.

   Plaintiffs’ Response: Since Defendants’ deadline for compliance with Paragraph

   III.F has not yet passed, Plaintiffs agree that Defendants have not violated Paragraph
                                       5
Case 8:19-cv-01944-SAG        Document 304         Filed 06/26/25     Page 6 of 7



   III.F.

    Defendants’ Response: No response required

G. [Relating to Paragraph III.G]

   Text of Defendants’ First Compliance Report: As of February 25, 2025, USCIS has

   adopted procedures for expediting Class Members’ cases as provided under Paragraph

   III.G (ECF 199-2 at 9) of the Settlement Agreement. The public may find those

   procedures online under the related links tab at

   https://www.uscis.gov/humanitarian/refugees-and-asylum/asylum/minor-children-

   applying-for-asylum-by-themselves.

   Plaintiffs’ Response: Paragraph III.G of the Settlement Agreement requires USCIS to

   “adopt procedures permitting Class Members to request that USCIS . . . expedite

   adjudication of asylum applications” on the basis of certain specified circumstances, and

   separately affirms that Class Members not meeting the specified circumstances “may

   also avail themselves of the general expedite procedures available at their local asylum

   offices.” Under Paragraph III.A, Defendants must incorporate such procedures into the

   USCIS memorandum and make them available to both Class Members and other

   individuals with prior UC determinations. Defendants have failed to adopt special

   expedite procedures as required by Paragraph III.G of the Settlement Agreement.

   Instead, the USCIS memorandum merely acknowledges that, like all other asylum

   applicants, unaccompanied children can request an expedited adjudication, which the

   USCIS asylum office considers in their discretion. USCIS Memorandum at 4. Instead

   of “adopt[ing] procedures” for expediting the specified types of cases as required by

   Paragraph III.G, the USCIS memorandum lists the specified types of cases as examples

   of circumstances underlying an expedite request “that are particularly relevant to

                                       6
       Case 8:19-cv-01944-SAG          Document 304       Filed 06/26/25      Page 7 of 7



            UACs” and then references the USCIS Asylum Division’s general guidance on

            expedite request procedures. Plaintiffs informed Defendants of this violation of the

            Settlement Agreement in the letter sent to Defendants on March 22, 2025, referenced in

            Part A above.

            Defendants’ Response: Please refer to Defendants’ Reply to Plaintiffs’ response to

            Defendants’ Second Compliance Report.

Dated: June 26, 2025                      Respectfully Submitted,

                                           BRETT A. SHUMATE
                                           Assistant Attorney General
                                           Civil Division

                                           WILLIAM C. PEACHEY
                                           Director,
                                           Office of Immigration Litigation

                                           YAMILETH G. DAVILA
                                           Assistant Director

                                           RICHARD G. INGEBRESTEN
                                           ERHAN BEDESTANI
                                           Trial Attorneys

                                           /s/Kelark Azer Habashi
                                           KELARK AZER HABASHI
                                           Trial Attorney (DC Bar No. 9009126)
                                           U.S. Department of Justice
                                           Civil Division
                                           Office of Immigration Litigation
                                           P.O. Box 868, Ben Franklin Station
                                           Washington, DC 20044
                                           Telephone: (202) 305-3340
                                           Fax: (202) 305-7000
                                           Kelark.azer.habashi2@usdoj.gov

                                           Attorneys for Defendants




                                               7
